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Exhibit
4
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On May 28, 2015, at 5:36 PM, Mare Randazza <mjr@randazza.com> wrote:

Val,

Pro handled at least 20 copyright cases, including Righthaven v. Hoehn where I represented the
defendant in a copyright case, and he bitch-slapped the plaintiff with fees. If your concern is that
I've won before him before, then I could understand that reasoning. But saying that Pro lacks the
right IP background is quite damaging to your credibility.

Irma Gonzalez is not in Las Vegas, and is a lazy dipshit who I'm not about to agree to.
What I like about Pro is that he became an arbitrator because he could not stand retirement. He
works hard and will dig into the issues with the requisite attention. Gonzalez became a judge so

that she could become an arbitrator and be lazy.

If we can't agree, which it appears clear that we can't, we will just initiate the arbitration and we
can do the old fashioned ranking game.

On Thu, May 28, 2015 at 2:22 PM, Val Gurvits <vgurvits@bostonlawgroup.com> wrote:

Ron,

We agree to arbitrate. However, several days ago in preparation for this arbitration we reviewed JAMS
arbitrators in Las Vegas and found that few have the necessary IP background to properly understand
this dispute. We propose Hon. Irma E. Gonzalez who obviously has the appropriate background. Her
Bio can be found here:

http://www.jamsadr.com/gonzalez/

Best,

Val Gurvits
Boston Law Group, PC

825 Beacon Street, Suite 20
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message in error, please notify Boston Law Group, PC immediately and destroy the original message.

Boston Law Group, PC

tel: 617/928-1800

e-mail: info@bostonlawgroup.com

From: Ron Green [mailto:rdq@randazza.com]

Sent: Thursday, May 28, 2015 5:19 PM

To: Val Gurvits

Ce: Marc John Randazza; Staff One

Subject: AMA Multimedia adv. Serviporno - Arbitration

Val:

Our client informs us that settlement discussions with your client have broken down and has
instructed us to begin the arbitration process. To that end, we propose that the parties select the
Honorable Philip M. Pro as our arbitrator. Judge Pro recently retired from the Nevada federal
bench. He is a fair and smart judge that has heard many intellectual property and Internet
disputes. Here is his bio from the JAMS website for your review:
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http://www.jamsadr.com/pro/

Please let us know whether your client approves Judge Pro as soon as possible. We should also
schedule a time to discuss any preliminary matters, such as permitted discovery. If there are any
specific issues that you would like to discuss, please let us know.

Ronald D. Green* | Randazza Legal Group
3625 South Town Center Drive | Las Vegas, NV 89135
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